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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

          Plaintiff,
                                                                    Case No. 1:16-cr-81
 v.
                                                                    HON. JANET T. NEFF
 JESUS SOLANO CARRAZANA,

       Defendant.
 ____________________________/


                 ORDER ADOPTING REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed on September 20, 2016 by

the United States Magistrate Judge in this action. The Report and Recommendation was duly

served on the parties, and no objection has been made thereto within the time required by law.

         THEREFORE, IT IS ORDERED that:

         1.      The Report and Recommendation of the Magistrate Judge (Dkt 30) is approved and

adopted as the opinion of the Court.

         2.      Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charge set forth in Count One of the Indictment.

3.       The written plea agreement is hereby continued under advisement pending sentencing.



Dated: October 11, 2016                                        /s/ Janet T. Neff
                                                             JANET T. NEFF
                                                             United States District Judge
